
















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. WR-63,966-01






CARLOS GARCIA, Relator


v.


THE DISTRICT CLERK OF LAMB COUNTY, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 3579-A IN THE 154TH DISTRICT COURT

LAMB COUNTY





	The order was delivered per curiam.



O R D E R




	This is an original application for a writ of mandamus.

	Relator contends that he filed an application for writ of habeas corpus in the 154th Judicial
District Court of Lamb County, but that the application has not been forwarded to the Court of
Criminal Appeals even though more than sixty days have elapsed.  Relator's contentions present a
colorable claim to have prompt resolution of any grounds raised in such an application.

	It is this Court's opinion that additional information is required before a decision can be
reached.  Therefore, the Respondent, District Clerk of Lamb County, is ordered to file with this
Court within thirty days a response by submitting the record on such application or a copy of a timely
entered order designating issues to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex.
Crim. App. 1992), or by stating the nature of any applications filed by Relator such that they are not
filed pursuant to Article 11.07, §&nbsp;3, V.A.C.C.P., or that no applications by applicant have been filed.

	IT IS SO ORDERED this the 22nd day of FEBRUARY, 2006.

DO NOT PUBLISH


